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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



CHEMICAL TOXIN WORKING GROUP INC.                       )
d/b/a HEALTHYLIVING FOUNDATION INC.,                    )
On behalf of themselves and all others similarly        )
situated, as defined herein,                            )
                                                        )
                                                        )
                                                        )      Case No. 1 :22-cv-01259-RCL
        V.                                              )
                                                        )
JOHNSON & JOHNSON, AND JOHNSON &                        )
JOHNSON CONSUMER INC.,                                  )
                                                        )
                                                        )



                        JOINT STIPULATED PROTECTIVE ORDER

        The Parties in this action (the "Action") seek entry of an Order under Federal Rule of Civil

Procedure 26(c) and other applicable laws and rules to facilitate the orderly and efficient disclosure

of relevant information, to minimize the potential for unauthorized disclosure of Confidential

Material, and to obtain other relief agreed to by the Parties and set out in this Order.

       Therefore, the Parties having stipulated, the Court, for good cause shown, hereby

ORDERS:

1.     Scope.

       a.        This Protective Order governs all Confidential Material, including "Highly

                Confidential Material-Attorney Eyes Only," designated pursuant to this Order.

                1.     "Confidential Material" means any hardcopy or electronic document,

                       information, testimony (i.e., depositions, declarations, or other pre-trial

                       statements in this Action), and all copies, data, extracts, compilations,
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              summaries, reports, and information obtained, derived, or generated from

              such material that the party (including any non-party) designating the

              material as confidential ("Designating Party") reasonably believes to be

              entitled to confidential treatment under Federal Rules of Civil Procedure

              26(c)(l)(G) or other applicable laws or regulations. Confidential Material

              includes, but is not limited to, nonpublic trade secrets (as defined in the

              Uniform Trade Secrets Act); other nonpublic research, development or

              commercial information that, if disclosed, the Designating Party is able to

              establish that it will result in competitive, commercial, or business harm;

              and any person's personal identifying information, financial information,

              medical/insurance information, or other information that is private under

              applicable laws or regulations.

        11.   "Highly Confidential Material-Attorney Eyes Only" means Confidential

              Material that the Designating Party reasonably believes in good faith to

              contain highly confidential information the disclosure of which would cause

              the Designating Party serious financial or other injury that cannot be

              avoided by less restrictive means, including but not limited to corporate

              trade secrets of the Designating Party, information obtained from a non­

              party pursuant to a non-disclosure agreement, and nonpublic research and

              development data of the Designating Party, not known to the public. Unless

              otherwise specified, provisions in this Order regarding "Confidential

              Material" shall also encompass "Highly Confidential Material-Attorney

              Eyes Only."



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     b.       This Order is binding upon all current and future Parties in this Action (including

              their respective corporate parents, subsidiaries, affiliates, successors, and attorneys

              and all other representatives or agents), their counsel, and all signatories to Exhibit

              A, the Non-Disclosure Agreement (deemed to be part of this Order), and all other

              persons or entities authorized under this Order or any other Order of this Court to

              receive or view Confidential Material.

     c.       The entry of this Order does not preclude any Party in this Action from seeking

              further order of this Court, including to remove the "confidential" designation,

              to modify this Order, or objecting to discovery that the Party believes to be

              improper.

     d.       Nothing herein shall be construed as an admission or concession by a Designating

              Party that any Confidential Material constitutes relevant, material, or admissible

              evidence in this Action.

     e.       No material shall be designated as protected absent a good faith belief that the

              material is within the intended scope of this Protective Order.

     f.       None of the parties shall be obligated to challenge the propriety of a confidential

              designation, and such failure to do so shall not preclude a subsequent challenge as

              to the propriety of such designation.

2.   Designation of Confidential Material; Failure to Make Designations.

     a.       Documents Produced in Image, PDF, or hardcopy form {"Image").                     The

              Designating   Party    shall   place    on   each   page   the    following   legend:

              CONFIDENTIAL,         SUBJECT TO PROTECTIVE ORDER or HIGHLY

             CONFIDENTIAL-ATTORNEY EYES ONLY, SUBJECT TO PROTECTIVE



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              ORDER. The legend shall not obscure any content of the original document. Any

              person making a copy of the image, if authorized under this Order, shall ensure that

              the same legend shows on the copy.

    b.        Documents Produced in Native Format ("native file"). A Designating Party shall

              rename each native file to include, at the end of the file name and prior to the file

              extension,    the   following      language:     CONFIDENTIAL            or   HIGHLY

              CONFIDENTIAL-ATTORNEY EYES ONLY. Any person making any copy of

             the native file, if authorized under this Order, shall not rename the file.

    c.       Deposition Testimony and Exhibits.

             1.      Following any deposition and for thirty (30) days after the last date of the

                     deposition (in the case of a multiple day deposition subject to a single notice

                     of deposition), all testimony from the deposition, transcripts of the

                     deposition, and exhibits thereto shall be treated as constituting Confidential

                     Material. Following expiration of thirty (30) days after the last date of the

                     deposition, unless a party (including any non-party) to the deposition

                     notifies all other parties to the Action, in writing, that it intends to designate

                     the testimony, transcript or exhibits (in whole or in part) as Confidential

                     Material, the transcript, or portions of transcripts, or exhibits shall no longer

                     remain subject to this Order.

             11.     Confidential Material designated before or at a deposition shall not be

                    shown to a witness who is not a Qualified Person as described below and

                    persons attending the deposition who are not Qualified Persons may be




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                     excluded from the portions of the deposition during which Confidential

                     Material is disclosed.

             m.      Deposition transcript or exhibit pages containing Confidential Material

                     shall be separately bound by the court reporter, who must affix to the top of

                     each page the legend "CONFIDENTIAL, SUBJECT TO PROTECTIVE

                     ORDER" or "HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY,

                     SUBJECT TO PROTECTIVE ORDER."

    d.       Pleadings. Motion Papers, and Written Discovery Papers.

             1.     A party may designate as Confidential Material portions of pleadings,

                    motion papers (written motions, affidavits, briefs), and written discovery

                    papers (requests and responses) if the party believes in good faith that the

                    aforementioned documents contain Confidential Material subject to

                    protection under applicable law.

             11.    A Party preparing such written papers should designate portions as

                    Confidential Material when the papers are served or filed and conform with

                    LCvR 5.l(h)(l).

             m.     A party receiving such written papers shall make designations within ten

                    (10) days after service or filing of the papers, unless a different date is set

                    by order of the Court or local rule of the Court.

    e.       Other Confidential Mate1ial. For Confidential Material in a form not addressed

             above (e.g., DVDs, portable hard drives, or other tangible items), the Designating

            Party shall affix in a prominent place on the exterior of the items the legend

            "CONFIDENTIAL, SUBJECT TO PROTECTIVE ORDER, PRODUCED BY



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             [PARTY NAME] IN [HLF v. JJCI Litigation]" or "HIGHLY CONFIDENTIAL­

             ATTORNEY EYES ONLY, PRODUCED BY [PARTY NAME] IN [HLF v. JJCI

             Litigation]." If feasible, the legend shall identify the portions constituting

             Confidential Materials.

    f.       Confidential Material Disclosed by a Non-Party.

             1.     A party to the Action issuing a subpoena to a non-party to the Action, shall

                    provide a copy of this Order to the non-party, and the non-party shall have

                    at least ten (10) business days after their production of any documents in

                    the Action in which to designate the documents (or any portion thereof) as

                    Confidential Material in accordance with this Order.      Within the ten (10)

                    business day period, the documents shall be treated as Confidential

                    Material.

    g.       Disclosure of ConfidentiaJ Material Without Confidential Designation.

             1.     Disclosure of Confidential Material without the required confidentiality

                    designation shall not be a waiver in whole or in part of the Disclosing

                    Party's claim of confidentiality, either as to the specific Confidential

                    Material disclosed or as to the same or related subject matter. This

                    paragraph and its subparts shall be interpreted to provide the maximum

                   confidentiality protection allowed under applicable law.

            11.     After discovering a failure to make a confidentiality designation, the

                   Disclosing Party may give written notice that the material is Confidential

                   Material. Receiving Parties then shall treat the material as Confidential

                   Material until the parties agree otherwise, or the Court resolves the issue.



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                      The Disclosing Party may reproduce the material with the appropriate

                      confidentiality legend, and each Receiving Party then shall return or destroy

                      all copies of the identified material, including that held by persons to whom

                      the Party distributed the material.

3.   Required Handling of Confidential Material.

     a.       Confidential Material shall not be disclosed to anyone for any purpose other than

              as required for the preparation of trial, appeal or pre-trial proceeding (including but

              not limited to hearings and mediations) in this Action, and, in that limited context,

              shall be disclosed only to Qualified Persons as set out below. Confidential Material

              shall not be used for any business, competitive or other non-litigation purpose.

              1.      Confidential Material in native format may be copied solely (a) for use in a

                     litigation-support application or (b) as specified in, and for purposes set out

                     in, any relevant provision of an ESI Protocol to be agreed-upon by the

                     Parties.

     b.       Confidential Material produced in this Action is expected to consist of electronic

              data that may include private personal information of parties and non-parties and

              private commercial and sensitive proprietary information of parties and non-parties.

     c.       If a Party receiving Confidential Material uses an ESI vendor, such vendor must

             employ practices that comply with industry security frameworks, such as ISO,

             NIST, CIS, or HITRUST.

     d.      Each Party, counsel for a Party, or person or entity acting on behalf of a Party (e.g.,

             electronic discovery or litigation-support vendors), except persons in Section 4 c,

             d, f, and Section 5 b, that receives Confidential Material shall implement policies



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              requiring confidential treatment of materials, non-disclosure, and conflict check.

              Protected Material must be stored and maintained by a Receiving Party at a location

              and in a secure manner that ensures that access is limited to the persons authorized

             under this Order, including through the use of encryption, appropriate access

             controls, and the maintenance of cyber and privacy liability insurance.

    e.       The following requirements apply in the event that unauthorized access to or

             acquisition of Confidential Material (other than a Party's own Confidential

             Material) is reasonably likely to have occurred (a "Breach"). Upon learning that a

             Breach is reasonably likely to have occurred, the Party, counsel for a Party, or

             person or entity acting on behalf of a Party to store, maintain, or transmit

             Confidential Material (e.g., electronic discovery or litigation-support vendors) who

             suffered the Breach shall promptly:

             1.      Notify in writing the Designating Party of the Breach and identify

                     Confidential Material that may have been accessed or acquired in the

                     Breach and all facts related to the Breach;

             ii.     Use its best efforts to retrieve all unauthorized copies of the Confidential

                    Material;

             111.   Use its best efforts to prevent reoccurrence of the Breach;

             1v.    Provide the relevant security and confidentiality prov1S1ons of any

                    agreement with a third party with whom Confidential Material has been

                    shared as permitted by this Order, as well as any other documentation, if

                    any, demonstrating the third party's security measures and/or compliance

                    with the agreement(s).



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     f.        Nothing in this Order shall limit any Designating Party's use of its own documents,

               including disclosure of its own Confidential Material to any person for any purpose.

     g.        Under this Order, Plaintiffs may use their own medical records and disclose them

               to their physicians, and Defendants may use copies of them and disclose them to

               other Qualified Persons.

4.   Qualified Persons With respect to Confidential Material. Subject to Paragraph 2.g.i

     above, Confidential Material (as distinct from Confidential Material-Attorney Eyes Only,

     covered in Paragraph 5 below) may be disclosed only to the following Qualified Persons:

     a.       All Parties in this Action;

     b.       The Parties counsel, including counsel's partners, employees, and agents (e.g.,

              outside copy services, litigation-support services, and stenographers) retained in the

              Action;

     C.       Consultants (i.e., experts or professionals whom counsel has retained to provide

              professional advice or services to assist in preparation for the trial of the Action,

              whether or not designated as a testifying expert), but only if (1) the Consultant has

              first signed a copy of Exhibit A, (2) the Consultant is not a Competitor of the

              Designating Party, and (3) Counsel for the Party retaining the Consultant, after duly

              diligent inquiry, does not know of any instance in which the Consultant has been

              found to be in violation of the terms of a protective order in any legal proceeding;

              1.     As used in this Order, "Competitor" means any manufacturer of, or any

                     entity involved in the sale of, baby or personal care products and any

                     person who, upon reasonable and good faith inquiry, could be determined

                     to be employed by, to be a consultant doing research for, or otherwise to



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                     be retained by any manufacturer of, or any entity involved in the sale of,

                     baby or personal care products.

      d.     A witness at a deposition or pre-trial bearing, if the witness will give relevant

             testimony regarding the Confidential Material to be disclosed or if disclosure is

             necessary to prepare the witness for the testimony, and only after the witness has

             signed a copy of Exhibit A.

             1.      This provision does not preclude the Designating Party from objecting to or

                     moving to preclude disclosure to any witness, or from seeking amendment

                     of this provision in the future;

     e.     A person identified in the Confidential Material as an author, source, addressee, or

            recipient of the material or who already has a copy of it;

     f.     Any other person mutually agreed upon among the Parties, but only if that person

            has signed a copy of Exhibit A

     g.     Any mediators or arbitrators selected to assist in resolution of this matter, and their

            personnel actively engaged in assisting them, if they have signed a copy of Exhibit

            A; and

     h.     The Court or any Court personnel, including any court reporters.

5.   Qualified Pe.-sons With. respect to Confidential Material-Attornev Eyes Only.

     Subject to Paragraph 3 above, Confidential Material-Attorney Eyes Only may be

     disclosed only to the following Qualified Persons:

     a.     Counsel of record in this Action, including counsel's partners, employees, and

            agents (e.g., outside copy services, litigation-support services, and stenographers)

            retained in the Action;
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     b.     Any individual Party, if the party's counsel reasonably believes that disclosure is

            necessary to prepare the Action for trial;

     c.     The Qualified Persons described in Paragraphs 4.c through 4.h above.

6.   Challenges to Designations.

     a.     If a Party challenges a designation, the challenged material shall be treated as

            Confidential Material until the Parties agree otherwise in writing or this Court

            issues an order that the material is not confidential.

     b.     To challenge confidentiality designations, a Party shall identify in writing the

            specific Confidential Material (by Bates number, if possible) to which each

            challenge pertains, and the specific bases for each challenge. After receiving the

            challenges, the Designating Party shall have 15 days to state in writing whether the

            designations will be maintained or withdrawn. If the Parties cannot resolve all

            disputes after meeting and conferring, the Designating Party shall file a motion to

            defend challenged designations.

7.   Use of Confidential Material in Court Prior to Trial.

     a.     The Party seeking to file Confidential Material shall file or lodge such materials

            with a motion or application to seal with the Court, or as otherwise provided by

           the procedures of this Court, notice of which must be provided to the Designating

           Party, if a party to the Action, by the Court's electronic service system. If the

           Designating Party is a non-party to the Action, the Party seeking to file the

           Confidential Material shall serve a copy of the motion or application to the non­

           party Designating Party by U.S. mail, or if agreed to in advance, by electronic

           mail to counsel representing the non-party Designating Party.



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8.    Orders. Subpoenas, or Requests from Non-Parties.

      a.       If a person or entity serves a Party in this Action with a request, subpoena, or order

               ("Demand") for disclosure of Confidential Material of a Designating Party, the

               Party receiving the Demand, if not prohibited under applicable law and within 48

               hours of receipt, shall deliver a copy of the Demand to the Designating Party's

               counsel. The Party shall not disclose any Confidential Material prior to the date

               specified for disclosure, unless a judicial officer or Court has ordered an earlier

              production and the Designating Party has not secured an extension of the time for

              the Party receiving the Demand to respond. In its sole discretion and at its own

              cost, the Designating Party may oppose or seek to limit the Demand in any legal

              manner.

9.   Redactions.

     a.       Prior to any discovery-related disclosure or production, the Producing Party may

              redact information or material that it believes in good faith is protected from

              disclosure by applicable privilege or immunity (see ,-i 11 of this Order), that is

              governed by any applicable privacy law or regulation, that contains proprietary

              non-responsive information, or that any Order entered in this Action allows to be

              redacted.    The Producing Party also may withhold entire non-responsive

              attachments in a document family and may produce slipsheets in their place only if

              the Producing Party in good faith believes the attachments are also protected from

              disclosure by applicable privilege or immunity.

     b.       Methods of Redaction.




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             1.      Each redaction in a TIFF-image shall be indicated clearly on the image as

                     being based on "Privilege". For native files requiring redaction, redacted

                     text shall be replaced with the term "Privilege" and the Producing Party

                     shall produce the redacted file either in native format or in an authorized

                     TIFF-image format.

             11.     For metadata fields requiring redaction, field content shall be replaced by

                     the term "Redacted," and the modified field shall be included in any

                     required .dat file.

      c.     The terms of 1 2.g above (Confidential Material) and of , 11 (privileged

             information) shall apply to any unintentional failure to redact information.

      d.     The Producing Party shall produce a redaction log for each item indicating the basis

             for the redaction, the bates number associated with the redacted item, and shall set

             forth all bases for the assertion of privilege or protection as required by applicable

             law and/or the terms of the discovery requests to which the Producing Party is

             responding. This redaction log, as to each document containing a redaction, shall

             be provided no later than ten (10) business days after production of the redacted

             document.

10.   Disposition of Confidential Material.

      a.     After final disposition of any appeals or after the time for filing any appeal has

            passed, each Party in the Action promptly shall, at the request of the Designating

            Party, either return to the Designating Party its Confidential Material (including on

            any litigation-support application or in the possession, custody, or control of any

            person to whom the Party distributed Confidential Material), destroy it, or



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                otherwise shall comply with any applicable order of the Court. Within 30 days of

                any such action, the Party shall certify in writing to the Designating Party that the

                required return or destruction has been completed.

        b.      As exceptions to the above requirements,

                1.     Counsel may retain Confidential Material in copies of pleadings, motions,

                       or other court-filed papers, in official transcripts and exhibits thereto, and

                       in attorney work product, including counsels' email and document

                       management systems. Counsel shall continue to treat all such materials as

                       Confidential Material pursuant to the requirements of this Order.

               11.     Confidential Material stored on backup storage media is sequestered. If

                       such data is restored from backup media, the Receiving Party or its agent

                       must promptly return or destroy the restored Confidential Material and

                       provide the certification required in ,i a above.

               111.    This Order shall continue to apply to any such materials retained by counsel.

11.    Disclosed Privileged Information.

       The Parties have agreed that, in this Action, they do not intend to disclose Privileged

Information. Pursuant to Federal Rule of Evidence 502(d) and 28 U.S. Code§ 1738, any disclosure

of Privileged Information ("Disclosed Privileged Information") shall not constitute in this or any

other action a waiver or forfeiture of any privilege otherwise attaching to the Disclosed Privileged

Information and its subject matter.

       Nothing in this order overrides any attorney's ethical responsibilities to refrain from

examining or disclosing materials that the attorney knows or reasonably should know to be

privileged and to inform the Disclosing Party that such materials have been produced.



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        Any party receiving materials that reasonably appear to be Privileged Information shall not

 copy, distribute, or otherwise use such materials in any manner and shall provide prompt notice to

 the Producing Party to afford an opportunity to request return of the materials.

           If a Disclosing Party notifies the Receiving Party that Privileged Information has been

disclosed, the Receiving Party shall not, from that point onward, copy, distribute, or otherwise use

in any manner the Disclosed Privileged Information, unless the Parties agree, or the Court orders,

otherwise; the Receiving Party shall instruct all persons to whom the Receiving Party has

disseminated the Disclosed Privileged Information that such information is subject to this Order

and may not be copied, distributed, or otherwise used; and the Receiving Party shall, within ten

(10) court days, return, destroy, or delete all Disclosed Privileged Information and all notes or

other work product revealing its content in the possession, custody, or control of the Receiving

Party, its attorneys, or any person to whom the Party provided the Disclosed Privileged

Information. The Designating or Disclosing Party shall provide a detailed privilege log supporting

the assertions of privilege as required by applicable law and the requests to which the documents

were produced, no later than fifteen (15) business days after return of the documents by the

Receiving Party.

        For purposes of this Order, Disclosed Privileged Information that is not reasonably

accessible under Federal Rules of Civil Procedure 26(b)(2)(B) because stored by the Receiving

Party on backup storage media is deemed to be sequestered. Should such data be retrieved, the

Receiving Party must promptly take steps to delete the restored Disclosed Privileged Information.

       To contest the claim of attorney-client privilege or work product protection, the Receiving

Party may-no later than forty (40) days after receipt of the privilege log-move the Court for an

Order compelling production of the contested material ("Disclosure Motion").



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          The Disclosing Party shall retain the burden of establishing its privilege or work product

claims.

          The motion shall be filed or lodged conditionally under seal; any Disclosed Privileged

Information attached to or disclosed in the motion shall be deemed submitted solely for the Court's

in camera review unless otherwise ordered by the Court.

          The motion shall not assert as a ground for entry of such an Order the fact or circumstances

of the production of Disclosed Privileged Information.

          Pending resolution of the motion, the Receiving Party must not use the contested

information in any way or disclose it to any person other than those required by law to be served

with a copy of the sealed motion.

          Rule 502.    Federal Rule of Evidence ("FRE") 502(b) is inapplicable to Disclosed

Privileged Information, which shall receive the maximum protection afforded by FRE 502(d).

Under FRE 502(d) and 28 U.S. Code§ 1738, this Order shall be enforceable and granted full faith

and credit in all other state and federal proceedings. Any subsequent conflict of law analysis shall

apply the law most protective of privilege and work product.

12.     Order Survives Termination of Action

       This Order constitutes an enforceable agreement between the Parties, their agents, and their

attorneys and shall be binding after termination of this action. To enforce this Order, the Court

shall retain jurisdiction over any person or entity in receipt of Confidential Material.



Julie Oliver-Zhang, Esq.                            Steven A. Zalesin (Admitted Pro Hae Vice)
Oliver-Zhang Law, PLLC                              Joshua Kipnees (Admitted Pro Hae Vice)
P: (202) 643-1110                                   George S. Soussou (Admitted Pro Hae Vice)
F: (202) 643-1596                                   Gautam Rao (Admitted Pro Hae Vice)
E: Julie@oliverzhanglaw.com                         PATTERSON BELKNAP WEBB & TYLER LLP
                                                    1133 Avenue of the Americas
Laurence D. King (Admitted Pro Hae Vice)            New York, New York 10036
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 Kathleen A. Herkenhoff (Admitted Pro Hae         Telephone: (212) 336-2110
  Vice)                                           sazalesin@pbwt.com
 Matthew B. George (Admitted Pro Hae Vice)        jkipnees@pbwt.com
 Blair E. Reed (Admitted Pro Hae Vice)            gsoussou@pbwt.com
 Kaplan Fox & Kilsheimer LLP                      grao@pbwt.com
 1999 Harrison Street, Suite 1560
 Oakland; CA 94612                                Anthony T. Pierce (D.C. Bar No. 415263)
 Telephone: 415/772-4700                          Miranda A. Dore (D.C. Bar No. 1617089)
 415/772-4707 (fax)                               AKIN GUMP STRAUSS HAUER & FELD LLP
 Email:                                           2001 K Street, NW
 lking@kaplanfox.com                              Washington, DC 20006
 kherkenhoff@kaplanfox.com                        Telephone: (202) 887-4000
 mgeorge@kaplanfox.com                            apierce@akingump.com
 breed@kaplanfox.com                              mdore@akingump.com

 Aida Poulsen (Pro Hae Vice pending)              Attorneys for Defendants Johnson & Johnson
 Poulsen Law P.C.                                 and Johnson & Johnson Consumer Inc.
 282 11th Avenue, Suite 2612
 New York, NY 10001
 Telephone: (650) 296-1014
 Email:    ap(cu,poul nlaw. rg
 Peter Sato (Pro Hae Vice pending)

 Poulsen Law P.C.
 282 11th Avenue, Suite 2612
 New York, NY 10001
 Telephone: (646) 776 5999
 Email: ps@poulsenlaw.org

 Attorneys for Plaintiff and the Proposed Class

IT IS SO ORDERED




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